                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

UNITED STATES OF AMERICA,                          Case No. 15-cr-117-pp

                   Plaintiff,

v.

KENDALL MCCLURE,

                  Defendant.
______________________________________________________________________________

         ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND
   RECOMMENDATION (DKT. NO. 484) AND ACCEPTING DEFENDANT’S
                                GUILTY PLEA
______________________________________________________________________________

      On November 2, 2016, the defendant and his counsel appeared before

Magistrate Judge David E. Jones for a change-of-plea hearing. Dkt. No. 429.

The hearing originally had been scheduled to take place before Judge Pepper,

but due to her illness, Judge Jones offered to take the plea. The defendant

consented to Judge Jones taking the plea; the government did not. Dkt. No.

484 at 1. Judge Jones explained that he would make a recommendation to this

court, and that this court would decide whether to accept the plea. Id.

      After questioning the defendant under oath, Judge Jones found him to

be “lucid, intelligent, and not under the influence of any intoxicants or

substances.” Id. Judge Jones also questioned the defendant about his rights,

the penalties associated with the offense to which he was pleading, and this

court’s final authority to impose a sentence regardless of the recommendations

of the probation department or the parties. Id. at 1-2. At the end of the hearing,




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Judge Jones concluded, and recommended that this court find, that the

defendant’s plea was knowing and voluntary, and supported by an independent

factual basis. Id. at 2. Judge Jones recommended that this court accept the

defendant’s guilty plea and schedule the case for sentencing. Id.

      Judge Jones also noted in his report and recommendation that at the

conclusion of the plea hearing, the defendant’s appointed counsel (Joshua

Uller) moved to withdraw as the defendant’s lawyer. Id. Counsel told Judge

Jones that he had accepted a staff position with Federal Defender Services of

Wisconsin, and that that office currently represents a co-defendant in this

same case. Were counsel to continue to represent the defendant under these

circumstances, there would be a conflict of interest. Id. Judge Jones agreed

that counsel could no longer represent the defendant. The defendant was not

pleased with this outcome, preferring to stay with his current counsel through

sentencing. Id. Judge Jones explained that the newly-arisen conflict made that

impossible, and assured the defendant that the Federal Defender would

appoint new counsel just as quickly as possible. Id. This court agrees that

Judge Jones had no choice but to allow Mr. Uller to withdraw, and that his

continued representation of the defendant once Mr. Uller joined the Federal

Defender would create a conflict.

      No party has objected to Judge Jones’ report and recommendation.

Having reviewed the case, and in particular, the plea hearing and Judge Jones’

findings, the court ADOPTS Judge Jones’ report and recommendation. The

court ACCEPTS defendant Kendall McClure’s guilty plea, finding that he made




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it knowingly and voluntarily, understanding his rights and the consequences of

his plea. The court ORDERS that the probation department begin the process

of preparing a presentence investigation report. The court further ORDERS

that Federal Defender Services of Wisconsin appoint a new panel attorney for

the defendant. Once the defendant’s new counsel has been identified, the

court’s staff will contact the parties (including the probation officer) to schedule

a date for the sentencing hearing, as well as deadlines for disclosure of the

draft presentence investigation report, objections to the report, responses, the

filing of letters or other supporting documentation, and the filing of the revised

presentence report.

      Dated in Milwaukee, Wisconsin this 28th day of November, 2016.




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